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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             Case No. 18-cv-80176-BLOOM/Reinhart

  IRA KLEIMAN, et al.,

         Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  __________________________________/

                                                ORDER

         THIS CAUSE is before the Court upon Plaintiffs’ Motion to Require Defendant to Make

  His Wife Ramona Watts Available for Deposition or, in the Alternative, Preclude Her from

  Testifying at Trial, ECF No. [344] (the “Motion”). In the Motion, Plaintiffs seek an order from the

  Court requiring the Defendant to produce his wife, Ramona Watts (“Watts”), for deposition or to

  preclude her testimony at trial. For the reasons that follow, the Motion is denied without prejudice.

         In the Motion, Plaintiffs state that they sought letters rogatory from this Court to take

  Watts’ deposition in London. ECF No. [344], at 2. They admit that they agreed to pay Watts’

  reasonable costs to attend her deposition “as is customary in England.” Id. Watts, however, has

  now apparently demanded the payment of approximately $65,000.00-$164,000.00 USD to cover

  the costs of her counsel. Id. In the event the Plaintiffs refuse to comply with her exorbitant demand,

  Plaintiffs represent that Watts will fight her deposition request in the English courts, which will

  likely prevent her deposition from occurring prior to the discovery cutoff in the instant case. Id.

         The Defendant opposes the relief sought in the Plaintiffs’ Motion, arguing that he has “little

  control” over his wife’s attendance at trial, and that the Motion is an “improper attempt to
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  circumvent the UK court’s rules and authority. ECF No. [352], at 2. The Defendant also argues

  that Plaintiffs simply do not want to pay the fees and costs associated with her document

  production and deposition, “even though plaintiffs represented to the UK court that they would

  pay Ms. Watts’ fees and costs.” Id. (emphasis in original). This Court notes, however, that this

  position misrepresents the record in this case. In fact, attached to the Defendant’s Response is the

  First Witness Statement of Velvel (Devin) Freedman, ECF No. [353-2] (herein referred to as

  “Plaintiff’s Counsel’s Statement”). In Plaintiff’s Counsel’s Statement, he specifically states that

  “the Applicants would pay for the reasonable costs of copy and transmitting the Watts Documents

  (and will pay Ms. Watts’s costs of attending the deposition, as per CPR 34.8(6)).” Therefore, the

  Court notes that the document on which the Defendant relies clearly states that Plaintiffs would

  pay for Watts’ reasonable costs of copying and transmitting documents and for her costs of

  attendance at the deposition per CPR 34.8(6) only.

           Further, Part 34.8(6) of the Civil Procedure Rules, states in relevant part:

                  [a]t the time of service of the order the deponent must be offered or
                  paid –
                  (a) a sum reasonably sufficient to cover his expenses in travelling to
                  and from the place of examination; and
                  (b) such sum by way of compensation for loss of time as may be
                  specified in Practice Direction 34A.

  CPR 34.8(6). Nowhere, in Plaintiff’s Counsel’s Statement or CPR 34.8(6) of the Civil Procedure

  Rules does it require that a deponent’s attorneys’ fees be paid. As such, Defendant cannot

  reasonably argue that the Plaintiffs agreed to pay “all” of Watts’ costs.

           However, the Court also notes that it lacks the authority to compel foreign non-parties to

  attend     depositions    who     are    outside    of    its   subpoena     power.      Indeed,   the

  Court lacks a compulsory process for the attendance of such witnesses. Because the court in the

  United Kingdom is the tribunal where the specific proceedings related to Watts’ deposition remain



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  pending, that court would be the appropriate venue to challenge the reasonableness of the fees

  sought by Watts prior to her deposition.

         The Court next turns to Plaintiffs’ alternative request that Watts be precluded from

  testifying at trial unless made available by the Defendant. To the extent that the parties are unable

  to resolve these issues prior to trial, and specifically, if Watts still refuses to sit for a deposition

  without requiring the Plaintiffs to pay more than the rules of the United Kingdom require, then the

  Court will permit the Plaintiffs to renew their request for leave to depose her outside of the

  discovery cutoff and/or to preclude her testimony at trial. However, the Court finds Plaintiffs’

  request to be premature at this juncture. Thus, the Plaintiffs’ Motion as it relates to their request

  for leave to depose Watts outside of the discovery cutoff or to preclude her testimony at trial is

  denied without prejudice.

         Accordingly, it is ORDERED AND ADJUDGED that Plaintiffs’ Motion, ECF No. [344],

  is DENIED WITHOUT PREJUDICE.

         DONE AND ORDERED in Chambers at Miami, Florida, on December 30, 2019.




                                                             _________________________________
                                                             BETH BLOOM
                                                             UNITED STATES DISTRICT JUDGE
  Copies to:

  Counsel of Record




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